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     FILED & JUDGMENT ENTERED
              Steven T. Salata



              Jul 24 2012


       Clerk, U.S. Bankruptcy Court
      Western District of North Carolina
                                                                       _____________________________
                                                                                 Laura T. Beyer
                                                                         United States Bankruptcy Judge




                              UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

                                                   )
IN RE:                                             )
JIMMIE C. GILLESPIE                                )      CASE NO. 10-30942
WILLIAM W GILLESPIE                                )      CHAPTER 11
           DEBTORS                                 )


                             CONSENT ORDER
             RESOLVING MOTION FOR RELIEF FROM AUTOMATIC STAY

        THIS CAUSE coming on to be heard before the undersigned Bankruptcy Judge, and it
appearing to the Court that Seterus, Inc. as servicer for Federal National Mortgage Association
(hereinafter “Creditor”), and the Debtors have agreed and consented to the entry of this Order
allowing the conditional relief from the automatic stay pursuant to the agreement of the parties as
set forth below:

        NOW THEREFORE, with the agreement and consent of the parties, the Court makes
the following:
                            FINDINGS OF FACT

1.      On April 6, 2010, Jimmie C. Gillespie and William W Gillespie (hereinafter “Debtors”),
filed a petition with the Bankruptcy Court in the Western District of North Carolina under
Chapter 11 of Title 11 of the United States Code.

2.    On the date the petition was filed, the Debtors were the owners of real property located at
803 Robinson Road, Gastonia, North Carolina 28056 (hereinafter “Property”).

3.     The Property is subject to the first lien of the Creditor by a Deed of Trust recorded in the
Gaston County Public Registry (“Deed of Trust”).
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4.     Said Deed of Trust secures a Note in the original principal amount of $56,250.00.

5.     Since the filing of the Motion, the account has been brought current through June, 2012.

6.      The Creditor and the Debtors have agreed and consented to entry of this Order as shown
by the signatures of counsel for the parties appearing below.

       NOW THEREFORE, by virtue of the law and by reason of the premises aforesaid, and
the consent of the parties, it is Ordered, Adjudged and Decreed as follows:

A.     The Debtors shall resume regular monthly mortgage payments (currently $292.25) to the
Creditor beginning with the July 1, 2012 payment and continuing each month thereafter as said
mortgage payments come due pursuant to the Note and Deed of Trust.

B.      In the event the Debtors shall fail to submit any payment required by Paragraph A during
the 6 months following the entry of this order, above, on or before fifteen (15) days after such
payment first comes due, then upon the Debtors' failure to cure any default after fifteen (15) days
written notice to the Debtors, the Debtors' Attorney and the Trustee of said default, the Creditor
shall be deemed to have relief from the automatic stay in order to pursue any remedies it may
have against its collateral pursuant to applicable state law without the necessity of further notice
or hearing in order that Seterus, Inc. as servicer for Federal National Mortgage Association, or
any successor-in-interest shall be allowed to proceed to foreclosure under the Deed of Trust
referred to above. In the event the automatic stay is lifted, the Creditor shall be permitted to
communicate with the Debtors and Debtor’s counsel to the extent necessary to comply with
applicable non-bankruptcy law.

C.     In the event that a default does occur, Creditor shall be entitled to collect all attorney fees
and costs incurred in connection with such default. In the event that this case is dismissed or
discharged, Creditor shall be free to enforce its legal remedies notwithstanding this Stipulation.

D.     The automatic stay will be modified immediately upon the Debtor’s default and the
waiting period pursuant to Rule 4001 will not apply.

E.     The Creditor’s Attorney fees and costs of $626.00 shall be added to the loan.

/s/Matthew L. Underwood                             /s/Verna Carol Bash-Flowers
Matthew L. Underwood                                Verna Carol Bash-Flowers
Brock & Scott, PLLC                                 Robert Lewis, Jr.
Attorney for Creditor                               Attorney for Debtors

This Order has been signed
electronically. The judge's
signature and court's seal appear
at the top of the Order.                                      United States Bankruptcy Court
